                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                  CRIMINAL NO. 3:01CR151



UNITED STATES OF AMERICA                      )
                                              )
                                              )
               vs.                            )              ORDER
                                              )
                                              )
ERIC LOWERY, et al.,                          )
                                              )


       THIS MATTER is before the Court on the Government’s revised request for destruction

of a firearm introduced into evidence during the trial of Defendant Lamar Redfern.

       Although no objections to the motion have been filed, the Court has received notice of

remand from the Fourth Circuit in the case of Defendant Redfern vacating in part his sentence

and ordering a new sentencing hearing. Therefore, the Court will require the Government to file

notice of whether or not the destruction of the subject firearm should be delayed until after the

new proceedings have been concluded.

       IT IS, THEREFORE, ORDERED that the Government shall file response to this Order

within 15 days of entry herein.




   Case 3:01-cr-00151-MOC-DCK              Document 158        Filed 08/05/05      Page 1 of 2
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                        Signed: August 5, 2005




Case 3:01-cr-00151-MOC-DCK   Document 158        Filed 08/05/05   Page 2 of 2
